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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT


 GORSS MOTELS,INC., a Connecticut
 corporation, individually and as the
 representative of a class of similarly-situated
 persons,                                          :    CIVIL NO. 3:16-cv-01832(JAM)

        Plaintiff,
 V.

 MAGNUSON HOTELS INTERNATIONAL                     :    JANUARY 11, 2017
 LLC, MAGNUSON HOTELS USA,LLC,
 Washington limited liability companies, and
 JOHN DOES 1-5,

        Defendant.


              DEFENDANTS MAGNUSON HOTELS INTERNATIONAL LLC
               AND MAGNUSON HOTELS USA,LLC'S SECOND MOTION
                  TO EXTEND TIME TO RESPOND TO COMPLAINT

        Defendants Magnuson Hotels International LLC and Magnuson Hotels USA,LLC

(collectively "Defendants") file this motion (the "Motion")respectfully requesting that the Court

 extend the deadline for responding to the complaint by 14 days, through and including January

26, 2017. As set forth below, Plaintiff has indicated that it intends to file an Amended Complaint

 removing the currently named defendants and adding a different entity as a defendant either prior

 to the current deadline for responding to the Complaint or shortly thereafter. After the Amended

 Complaint is served, the new defendant named therein will respond within the timeframe that is

 required by the manner of service selected. In support of this Motion, Defendants state as

follows:
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       1.      The Complaint was served on Defendants on November 22, 2016. As a result,

their response to the Complaint was originally due December 13, 2016. On December 13, 2016,

the Court granted an assented-to motion for an extension of time and extended the deadline to

respond to the Complaint through and including January 12, 2017.

       2.      As Defendants and undersigned counsel prepared to respond to the allegations in

the Complaint, they determined that the two entities named as defendants(Magnuson Hotels

International LLC and Magnuson Hotels USA,LLC) were not proper defendants in this action.

       3.      To avoid needless motion practice, undersigned counsel communicated with

Plaintiff's counsel, Brian Wanca, about this issue via e-mail on January 6, 2017. Mr. Wanca

responded that Plaintiff would amend the complaint to remove the defendants and add a different

Magnuson entity. A copy ofthe e-mail correspondence between undersigned counsel and Mr.

Wanca is attached hereto as Exhibit A.

       4.      Defendants' response to the Complaint is currently due on January 12, 2017. Mr.

Wanca has informed undersigned counsel that Plaintiff is endeavoring to file the Amended

Complaint by that date or shortly thereafter. Because the Complaint will be superseded by the

forthcoming Amended Complaint,the entity to be named as the defendant will respond to the

Amended Complaint within the time period prescribed by the governing rules, dependent on the

manner of service selected.

       5.      Undersigned counsel has conferred with Mr. Wanca regarding the relief sought in

this Motion. Mr. Wanca has advised undersigned counsel that he assents on behalf of his client.

       6.      For these reasons, it would promote the efficient progress of this action and avoid

unnecessary motion practice to extend Defendants' deadline for responding to the Complaint.



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7.      A proposed order is attached.



                                             DEFENDANTS
                                             MAGNUSON HOTELS
                                              INTERNATIONAL LLC,and
                                             MAGNUSON HOTELS USA,LLC


                                             By /s/ Edward J. Heath
                                               Edward J. Heath (ct 20992)
                                               Wystan M. Ackerman (ct 24090)
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                                                           wackerman arc.com




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                                       CERTIFICATION

       I hereby certify that on January 11, 2017, a true and correct copy of the foregoing was

filed electronically on January 11, 2017 and served via the court's electronic filing system or by

mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic filing,

to:

Aytan Y. Bellin
Bellin & Associates LLC
85 Miles Avenue
White Plains, NY 10606

Brian J. Wanca
Ryan M. Kelly
Anderson & Wanca
3701 Algonquin Road, Suite 500
Rolling Meadows,IL 60008




                                                      /s/ Edward J. Heath
                                                      Edward J. Heath




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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

GORSS MOTELS,INC., a Connecticut
corporation, individually and as the
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persons,                                                :   CIVIL NO. 3:16-cv-01832(JAM)

       Plaintiff,
V.

MAGNUSON HOTELS INTERNATIONAL
LLC, MAGNUSON HOTELS USA,LLC,
Washington limited liability companies, and
JOHN DOES 1-5,

       Defendant.

                    ORDER GRANTING DEFENDANTS SECOND MOTION
                     TO EXTEND TIME TO RESPOND TO COMPLAINT

        THIS MATTER,having come before the Clerk of the Court, or the Court, upon the

Second Motion to Extend Time to Respond to Complaint filed by Defendants Magnuson Hotels

International LLC and Magnuson Hotels USA,LLC (collectively "Defendants"), it is hereby:

        ORDERED AND ADJUDGED that the request is GRANTED. The deadline for

Defendants' time to respond to the Complaint is extended through and including January 26,

2017. When an Amended Complaint is filed, any defendants named therein shall respond within

the time period set forth in the applicable rules.

        DONE AND ORDERED in New Haven, Connecticut, this                   day of          ,2017.



                                                  Hon. Jeffrey Alker Meyer
                                                  United States District Judge

Copies furnished to:
All Counsel of Record


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